Case 3:99-cv-00680 Document 117 Filed 06/11/02 Pape TOT SsipisharcrcouRE —
‘S. ICF COUR
NORTHERN DISTRICT OF TE XAS
why IN THE UNITED STATES DISTRICT CQURT
\Or FOR THE NORTHERN DISTRICT OF TEXAS
Or DALLAS DIVISION
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JAMAL ELHAJ-CHEHADE, § CLERK, US.DISTRICTCOURT ,
§ Ve
Plaintiff, § Deputy ay
§ Civil Action No. 3:99-CV-0680-BC ¢
VS. §
§
THE EDUCATIONAL COMMISSION §
FOR FOREIGN MEDICAL GRADUATES, §
a/k/a ECFMG or ECFMG/USMLE §
(entities or individuals), § io
§ Tae
Defendants. § N45 0b
ORDER

Treating plaintiff Jamal Elhaj-Chehade’s June 10, 2002 “response to the court and its orders”
as a motion for reconsideration, the motion is denied.

SO ORDERED.

2002.

June 1 ;

UNITED STATES DISTRICT JUDGE
